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                         IN UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA

                       Plaintiff,                  :


              vs                                   :      Case No. 3:16-CR-42


ANTHONY THOMAS                                     :

                       Defendant.




                      ORDER TERMINATING SUPERVISED RELEASE



       On March 14, 2017, the above named was sentenced to a term of five (5) years Supervised

Release following his term of imprisonment. For good cause shown, it is hereby ordered that the

Defendant, Anthony Thomas, is discharged from Supervised Release and the proceedings in this

case be terminated.

       IT IS SO ORDERED.




                                                   s/ Thomas M. Rose

Dated: November 6, 2020
                                                   Thomas M. Rose, Judge
                                                   United States District Court
